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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                MDL NO. 2327
SYSTEMS PRODUCTS LIABILITY
LITIGATION

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THIS DOCUMENT RELATES TO ALL CASES

                                           ORDER
       AND NOW, this _______ day of ___________, 2014, upon consideration of Plaintiff’s
Motion for Change of Attorney Information, and any opposition thereto, it is hereby ORDERED
that the Motion is GRANTED, and that the attorney information for the below listed Andrus
Wagstaff attorneys is updated as follows in MDL Nos. 2326, 2325, 2187, 2327, 2387, and 2440,
and each individual member case in which any of the below named attorneys are associated:

                     Aimee H. Wagstaff, Esq. (CO Bar # 36819)
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                                                   BY THE COURT:



                                                   _____________________________________
                                                   Joseph R. Goodwin

                                                   United States District Judge




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